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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

In re:

FANJOY CO.,                                              Case No.: 23-57565-PWP

      Debtor.                                            Chapter 11
______________________________________/


                     NOTICE OF APPEARANCE AND REQUEST FOR
                       SERVICE OF NOTICES AND DOCUMENTS

         PLEASE TAKE NOTICE that, pursuant to Part VII and Rules 9007 and 9010 of the

Federal Rules of Bankruptcy Procedure, BEDABOX, LLC, a Florida limited liability company,

doing business as Shipmonk, appears in this bankruptcy proceeding through its counsel,

Akerman LLP, and requests service of all notices and documents herein upon:

Amy M. Leitch, Esq.
Email: amy.leitch@akerman.com
Akerman LLP
50 North Laura Street, Suite 3100
Jacksonville, Florida 32202


         PLEASE TAKE FURTHER NOTICE that the foregoing request for service includes

all pleadings of any kind, including, without limitation, all notices, applications, motions,

complaints and orders, whether written or oral, formal or informal, however transmitted or

conveyed, related in any way to the bankruptcy proceeding.

         PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance and

Request for Service of Notices and Documents (the "Notice") nor any later appearance, pleading,

proof of claim, claim, or suit shall constitute a waiver of (i) the right to have final orders in

noncore matters entered only after de novo review by a District Court judge, (ii) the right to trial



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by jury in any proceeding triable in this bankruptcy proceeding or any case, controversy or

proceeding related to this bankruptcy proceeding, (iii) the right to have the District Court

withdraw the reference in any matter subject to mandatory or discretionary withdrawal, (iv) any

objection to the jurisdiction of this Bankruptcy Court for any purpose other than with respect to

this Notice, (v) an election of remedies, or (vi) any other rights, claims, actions, defenses, setoffs

or recoupments as appropriate, in law, in equity or under any agreement, all of which rights,

claims, actions, defenses, setoffs and recoupments are expressly reserved.

This 23rd day of August, 2023.

AKERMAN LLP

By: /s/ Amy M. Leitch
Amy M. Leitch
Georgia Bar No. 153227
Email: amy.leitch@akerman.com
50 North Laura Street, Suite 3100
Jacksonville, Florida 32202
Telephone: (904) 798-3700
Facsimile: (904) 798-3730

Counsel for, BEDABOX, LLC, a Florida
limited liability company, doing business as
Shipmonk




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:

FANJOY CO.,                                                Case No.: 23-57565-PWB

      Debtor.                                              Chapter 11
______________________________________/


                                 CERTIFICATE OF SERVICE

         This is to certify that I have served the foregoing "Notice of Appearance and Request for

Service of Notices and Documents" on counsel for all parties by filing the same using the Court's

CM/ECF System and by deposition true and correct copies of the same in the United States Mail

with sufficient first-class postage affixed thereto to insure delivery to the following:


Leon S. Jones, Esq.                                 Tamara Miles Ogier, Esq.
Leslie M. Pineyro, Esq.                             Ogier, Rothschild & Rosenfeld PC
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                                                    Thomas Dworschak, Esq.
Gary W. Marsh, Esq.                                 Office of the United States Trustee
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This 23rd day of August, 2023.

AKERMAN LLP

By: /s/ Amy M. Leitch
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